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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 JENNIFER VANDERSTOK, et al.,                   §
                                                §
        Plaintiffs,                             §
                                                §
 v.                                             §
                                                §
 BLACKHAWK MANUFACTURING                        §
 GROUP INC., et al.,                            §
                                                §   Civil Action No. 4:22-cv-00691-O
        Intervenor Plaintiffs,                  §
                                                §
 v.                                             §
                                                §
 MERRICK GARLAND, et al.,                       §
                                                §
        Defendants.                             §

                                            ORDER

       Before the Court are (1) Defense Distributed’s Opposed Emergency Motion for Injunction

Pending Appeal (ECF No. 239), filed July 18, 2023, and (2) Not an LLC d/b/a JSD Supply’s

Emergency Motion for Injunction Pending Appeal (ECF No. 241), filed July 18, 2023. In light of

the Fifth Circuit’s Order on appeal in this case (Case No. 23-10718), issued July 24, 2023, the

Court DENIES the motions for injunctive relief pending appeal as moot.

       Also before the Court is (3) Not an LLC d/b/a JSD Supply’s and Polymer80,

Inc.’s Unopposed Motion to Stay Rule 54 Deadline (ECF No. 240), filed July 18, 2023.

Having considered the Unopposed Motion to Stay Deadline, it is hereby ORDERED that the

Motion is GRANTED.

       It is further ORDERED that the deadline for Plaintiffs to file a Rule 54 motion for costs

and attorneys’ fees is stayed until 14 days after the final resolution of Defendants’ appeal from

this Court’s judgment. ECF Nos. 231, 234.
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    SO ORDERED this 25th day of July, 2023.




                                          _____________________________________
                                          Reed O’Connor
                                          UNITED STATES DISTRICT JUDGE




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